       The following cases in which the Court of Appeals issued published opinions have been appealed to
the Supreme Court:

           1. Damien Cameron Spencer
              v. Commonwealth of Virginia
              Record No. 0525-17-3
              Opinion rendered by Judge O’Brien on
               November 14, 2017

           2. Angel Alexis Cartagena, a/k/a
               Veguilla Angel Alexis Cartegena
              v. Commonwealth of Virginia
              Record No. 2002-16-1
              Opinion rendered by Judge Russell on
               November 28, 2017

           3. Thormac, LLC, d/b/a
              McCormack’s Whisky Grill and Smokehouse
              v. Department of Alcoholic Beverage Control and
                  Virginia Alcoholic Beverage Control Board
              Record No. 0100-17-2
              Opinion rendered by Judge Beales on
               November 28, 2017

           4. Raymeka Monique White
              v. Commonwealth of Virginia
              Record No. 1991-16-2
              Opinion rendered by Judge Decker on
               December 5, 2017

           5. Robert Ryan Grasty
              v. Commonwealth of Virginia
              Record No. 0281-17-1
              Opinion rendered by Judge Humphreys on
               December 5, 2017

           6. Barry Justin Levenson
              v. Commonwealth of Virginia
              Record No. 1884-16-4
              Opinion rendered by Judge Petty on
               December 12, 2017


           7. Andrew Vojuan Burrous
              v. Commonwealth of Virginia
              Record No. 0022-17-2
              Opinion rendered by Judge Beales on
               December 12, 2017
8. Daniel Ernest McGinnis
   v. Commonwealth of Virginia
   Record No. 0117-17-3
   Opinion rendered by Judge Beales on
    December 12, 2017

9. Robert Lee Jones
   v. Commonwealth of Virginia
   Record No. 0574-16-2
   Opinion rendered by Judge Decker on
    December 19, 2017

10. Michael Anthony Edwards
    v. Commonwealth of Virginia
    Record No. 0902-16-2
    Opinion rendered by Judge Alston on
    December 19, 2017
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Claudia Kathleen Pitts
   v. Commonwealth of Virginia
   Record No. 1728-15-2
   Opinion rendered by Senior Judge Haley
     on November 8, 2016
   Dismissed pursuant to Rule 5:17(c)(1) (170084)

2. Tyrone Logan, s/k/a
    Tyrone Lamont Logan
   v. Commonwealth of Virginia
   Record No. 0867-16-2
   Opinion rendered by Judge Beales
     on June 20, 2017
   Refused (170899)

3. George Ellis Brown, Jr.
   v. Commonwealth of Virginia
   Record No. 0507-16-2
   Opinion rendered by Judge Beales
    on August 1, 2017
   Refused (171054)
